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ll. OFFENSE(S) CH ARGED (Cite U.S. Code, Title & Section)

il'mure than one offense, list

1) 18 1343.F -- FRAUD BY WIRE, RADIO, OR TELEVISION

[up to live) major offenses charged. according to severity ofofl`en.$e.

1. ClR./Disr.miv. cone 2. rensoN REPRESENTE:) voucnc~;k NUMBER
TNW Clay, Ebony
3. MAG. DKT./DEF, NUMBER 4. msT. nKT.mEF. NUMBER s. APPEALS m<T./DEF. NuMaER 6. orman pi&r§ujmzo£nplm,
2105-020250_002 -,M “ - 1~ l .¢ ". D.C.
r. IN CASE/MATTER or tcm ~.m¢> s. PAYMENT cATEGonv 9. wyo PERsoN REPRESENTED 10. nor RESENTA'rloN TYPE
[Seel ti
U.S. v. Clay Felony Adult Defendant Crimusimg 22 EH l

26

 

ll. i§'ll`](§TR"l"*ll§‘l{];lScN/£\SED§E Fsirst Name, M.l., Last Name, including any sut'l'lr]

ROBBINS, MICHAEL
SUITE 1540

40 SOUTH MAIN ST
MEMPHIS TN 38103

Telephune Numher: (90 ]) 526'7066
l4. NAME AND MAILlNG ADDRESS OF LAW FiRM (onlyprovide perinnructinns)

 

 

 

13. COURT ORDER

0 Appninting Couosel i:l C Co-Coun.sel W;’.ni ¢' ‘C‘ 'f;
1__.1 F Subs For Federal Defender ij R Suhs Fnr Retain ’K‘Ftoi'{\]ey
ij P Subs For Panel Attnrney l:l Y Slandhy Counse[

Frior Attoroey's Name:

   

 
  

jun

     

 

Appolnllnent Dlte:

\q`rkecause the above-named person represented has testllled underonh or has

o` wise satisfied this court that he or she {1) is financially unable to employ cmnse| and
[I) does not wish to waive counsel, and because the interests of]llstlce so require, the

attorney whose name appears in llern 12 ls appointed lo represent this person in this case,

or
i:l Other(See|nstr lo .s)

t/IMLC

 

Signature of l’resid"ng Jlldic|al Citlicer or By Order ofthe Coun

 

x

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

representation'.’ Cl YES l:l NO |l`yes, give details nn additional sheets.
I swear or attirm the truth or correctness of the above statements.

Have you previously applied to the court for compensation and/or remimbursement for this case?

0'7/ l 't /7 nfl §
Dat.e ofOrder Nunc l’ro Tuoc Dale
Repayment or partial repayment ordered i'rnrn the person represented for this s ervice at
time ofappointment. I] YES ll NO
§§ t `“ ' ; ' \' 1 ' .. ida
.a,` § . § 1' _ .-:` § 55‘:`_
TOTAL MATH.'I'ECH MATH.'TFJCH
cATEcoiuas Ana¢¢. itemization of services wish dam "OURS AMouNr Amusri:o ADJUSTED AD‘?'TIONAL
1 ) CL'“ME” cLAth:n nouns AMOtJNr RLVIEW

15. a. Arraignment and/or Plea

b. Ball and Detention Hearings

c. Motion Hearlngs
l .
n d. Trtal
g e. Sentencing Hearings
3 t'. Revocation l-learings
: g. Appeals Court

h. Other (Speclfy on addttlonal sheets)

(Rate per hour -= $ ) TO'I'ALS:
lo. a. interviews and Conferences
g b. Obtaining and reviewing records
o c. Legal research and brief writing '
f
C d. 'l'ravel time
3 e. Invest|gativ e and Other work (sp=city nn additional sheecs)
i'
t (Rate per hour = $ ) TOTALS:
17. Travel Ex penses (lodging, parking1 mea|s, mileage, ete.)
18. Ocher Expenses (ocher than expert, transcriprs, m.)
]9. CERTIF!CATION OF ATTORNEY:'PAYEE FOR THE PERl()D 0 F SERV'!CE 20. APPO]NTMENT TERM[NATION DATE Zl. CASE DISPO SITION
lF 0THER THAN CASE coMPLETIoN
FROM TO

22. C`LAlM STATUS \'_`i Final Payment I:l interim Payment Number l:l Sup lemental Payment

 

Signatnre ol' Attorney:
w 'v; ~s¢~,“‘

 

 

  

1

 

|:] YES NO ll'yes. were you paid?
Other than from the coun, have you, or to your knowledge has anyone else, received payment (compensation or anythlng or value) from any other source in connection with this

|:l YES l:l NO

 

 
   
    

 

 

 

 

 

 

 

approved in excess ul'tlle statutory threshold amoun .

 

23;. lNVC"OURT COMP. -\ 24. OliT OF COURT COMP. 25. TRA\"L--'I'A'l)ii'l"lNSiESv z 16. OTHE.R EXPENSES 27. TGTAL AMT. APPR.' CERT
28. S[CNA'I"URE OF 'I`HE PRESiDlNG JUDICIAL OFFICER DATE ZHa. JUDGEIMAG. .IUDGE CODE
29. IN COURT COMP. 30. OUT OF COURT COMP. ]1. TRAVEL EXFENSES 32. OTHE.R EXFENSES 3]. TOTAL A.MT. APPROVE`.D

34. SIGNATURE OF CHIEF JUDGE, COUR'I` O{" APP EALS (OR DELEGATE) Payment DATE`. 345. J'UDGE CODE

 

 

 

 

This document entered on the docket sh et ln corn ll nce
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UNITED sTATE DRISTIC COUR - WTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of thc document docketed as number 40 in
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1\/lcmphis7 TN 38103

C. Michael Robbins
40 South Main St
Ste 1540

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Honorablc J on McCalla
US DISTRICT COURT

